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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: June 01, 2022.

                                                             ________________________________________
                                                                        CRAIG A. GARGOTTA
                                                             CHIEF UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________
               IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                      SAN ANTONIO DIVISION

  IN RE:                                               §   CASE NO. 21-51206-cag
                                                       §
  VICTOR HUGO SANCHEZ,                                 §   CHAPTER 7
                                                       §
  Debtor.                                              §


  DOCTOR’S HOSPITAL AT                                 §
  RENAISSANCE, LTD. AND                                §
  RGV MED, LLC,                                        §
                                                       §
             Plaintiffs,                               §
                                                       §
  v.                                                   §   ADV. NO. 22-05003-cag
                                                       §
  VICTOR HUGO SANCHEZ,                                 §
                                                       §
             Defendant.                                §

         ORDER DENYING DEFENDANT VICTOR HUGO SANCHEZ’S MOTION FOR
        DISMISSAL FOR FAILURE TO STATE A CLAIM (ECF NO. 3) AND GRANTING
                               LEAVE TO AMEND

             This is the Court’s ruling on Defendant Victor Hugo Sanchez’s Motion for Dismissal for

  Failure to State a Claim (“Motion to Dismiss”) (ECF No. 3)1. Plaintiffs Doctor’s Hospital at



  1
      “ECF” denotes electronic filing docket number.

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  Renaissance, Ltd. and RGV Med, LLC filed Plaintiffs’ Response to Defendant’s Motion to

  Dismiss (ECF No. 4) (“Response”). The Court took the matter under advisement without the

  necessity of a hearing. For the reasons stated in this Order, the Court DENIES the Motion to

  Dismiss. The Court further finds that Plaintiffs have 14 days from the entry of this Order to amend

  its complaint.

                                            JURISDICTION

         This Court has jurisdiction over the Motion to Dismiss pursuant to 28 U.S.C. § 1334(b).

  Plaintiffs claims of nondischargeability are deemed a core proceeding under 28 U.S.C.

  § 157(b)(2)(I). Venue is proper under 28 U.S.C. §§ 1408 and 1409. The statutory predicate for

  relief is Federal Rule of Civil Procedure (“Rule(s)”) 12(b)(6), made applicable to this proceeding

  through Fed. R. Bankr. P. 7012 and Local Rule 7012. This matter is referred to this Court pursuant

  to the District Court’s Order of Reference.

                                            BACKGROUND

         On October 4, 2021, Victor Hugo Sanchez, (“Sanchez”) voluntarily filed for Chapter 7

  Bankruptcy (See Case No. 21-51206-CAG, ECF No. 1). On January 11, 2022, Plaintiffs Doctor’s

  Hospital at Renaissance Ltd. and RGV Med, LLC (“Hospital”) filed their Complaint for

  Determination of Non-Dischargeability (“Complaint”) (ECF No. 1). The Complaint pleads three

  claims for relief: (1) fraudulent concealment of assets under 11 U.S.C. § 727(a)(2); (2) making of

  false oaths or accounts under 11 U.S.C. § 727 (a)(4)(A); (3) attorney’s fees and costs.

         The Hospital’s claims arise from conduct that occurred during pre-petition litigation

  between the parties. On August 16, 2017, Sanchez initiated an arbitration proceeding against the

  Hospital. (ECF No. 1 at 3). On December 17, 2018, the arbitration panel rejected all the claims

  brought by Sanchez and ordered him to pay the Hospital’s attorney’s fees and costs from the



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  arbitration in the amount of $482,202.98. (Id. at 3-4). The Hospital then filed a Petition to Confirm

  Arbitration Award in the 332nd Judicial District Court in Hidalgo County, Texas, Cause No. C-

  0084-19-F (“State Court Lawsuit”). (Id. at 4). As part of this proceeding, the Hospital requested

  post-judgment discovery, including a deposition of Sanchez on June 29, 2021. (Id.). At the

  deposition, the Hospital asked Sanchez questions regarding his financial affairs in an attempt to

  collect on its judgment. Shortly thereafter, Sanchez filed bankruptcy and the Hospital filed its

  Complaint, thereby commencing this adversary. In response, Sanchez filed his Motion to Dismiss.

  The Hospital then filed its Response.

                                          LEGAL STANDARD

         Rule 12(b)(6)

         To survive a Rule 12(b)(6) motion to dismiss, a complaint must contain sufficient facts,

  accepted as true, to state a claim to relief that is plausible on its face. Gonzalez v. Kay, 577 F.3d

  600, 603 (5th Cir. 2009) (citing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). A claim for relief is

  plausible on its face “when the plaintiff pleads factual content that allows the court to draw the

  reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at

  678. A court should not accept “threadbare recitals of a cause of action’s elements supported by

  mere conclusory statements.” Hershey v. Energy Transfer Partners, LP, 610 F.3d 239, 245–46

  (5th Cir. 2010) (quoting Iqbal, 556 U.S. at 678). In other words, legal conclusions are not enough;

  the complaint must allege facts that support its claims for relief. Bell Atl. Corp. v. Twombly, 550

  U.S. 544, 555 (2007). In reviewing whether the complaint sufficiently states a claim on which

  relief may be granted, the Court must accept all well-pleaded facts as true and view those facts in

  the light most favorable to the plaintiff. Thompson v. City of Waco, Tex., 764 F.3d 500, 502–03

  (5th Cir. 2014).



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             Rule 9

             Though most causes of action are subject to Rule 8(a)’s pleading standard, Iqbal, 566 U.S.

  at 677-78, Rule 9(b) establishes a heightened pleading standard for cases where the Plaintiff alleges

  fraud. Under Rule 9(b), fraud claims must be alleged with particularity concerning the

  circumstances of the fraud. Fed. R. Civ. P. 9(b). Rule 9(b) requires the plaintiff to “plead the who,

  what, when, where, and why as to the fraudulent conduct.” Life Partner Creditors’ Tr. v. Crowley

  (Matter of Life Partners Holdings, Inc.), 926 F.3d 103, 117 (5th Cir. 2019). This heightened

  pleading standard applies to both of the § 727 causes of action pled here, as each claim carries a

  fraudulent intent element. While no binding case law exists explicitly stating that Rule 9 applies

  to §§ 727(a)(2) or (a)(4) claims, other courts have applied the heightened standard to these claims.

  E.g. Hill v. Yoon (In re Yoon), Adv. Case No. 10-03526, 2011 WL 1258179 (Bankr. S.D. Tex.,

  Apr. 1, 2011). Regardless, the Hospital acknowledges that Rule 9 applies to its § 727 claims. (ECF

  No. 4 at 3). Accordingly, the Court will analyze the Complaint using the heightened pleading

  standard under Rule 9.

                                                          ANALYSIS

             In its Complaint, the Hospital alleges three causes of action, each with their own underlying

  facts. Each claim is insufficiently pled. Nevertheless, the Court will DENY the Motion to Dismiss

  but will GRANT the Hospital leave to amend its complaint. The Court will analyze each cause of

  action in turn.

       I.    Claims under 11 U.S.C. § 727(a)(2)


             First, the Hospital asserts that Sanchez fraudulently concealed assets under 11 U.S.C.

  § 727(a)(2) 2 by diverting income he earns from consulting into the account of an entity owned by


  2
      Unless otherwise indicated, all section references are to Title 11 U.S.C.___ et. seq.

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  Sanchez called Chioggia Oil & Gas, LLC (“Chioggia”). (ECF No. 1 at 5). According to the

  Hospital, Sanchez’s income goes directly to Chioggia, which then pays Sanchez’s personal

  expenses and writes off those expenses. (Id.) The Hospital supports this contention by citing pre-

  petition deposition testimony in which Sanchez allegedly stated that his income “goes to Chioggia

  on [Sanchez’s] behalf,” with the arrangement being that “Chioggia pays Sanchez’s personal

  expenses and then writes them off.” (Id. at 5-6). The Hospital argues this arrangement is fraudulent

  because Sanchez allegedly stated that Chioggia, “had no business, generated no income, and

  wasn’t doing anything.” (Id. at 5).

          In the Motion to Dismiss, Sanchez’s first argument attacks the plausibility of claims for

  undervaluing artwork on his bankruptcy schedules under § 727(a)(2). (ECF No. 3 at 3-10). This

  argument is irrelevant, as the only claim under § 727(a)(2) pled in the Complaint was the diverting

  of income through the Chioggia account.

          Sanchez’s next argument contends that no plausible claim for fraudulent concealment can

  be made on the facts alleged for two primary reasons: (1) a debtor’s pre-petition use of income

  from a business bank account is not transferring, removing, destroying, or mutilating property of

  the debtor; and (2) Sanchez concealed nothing because the Hospital knew about the Chioggia

  arrangement as early as the June 2021 deposition. (Id. at 11).

          In response, the Hospital reiterates that the claim was pled with particularity subject to the

  heightened pleading standard under Rule 9(b). (ECF No. 4 at 4-5). The Hospital points the Court’s

  attention to paragraphs 15-21 of the complaint for the “who, what, when, where, and how” of the

  claim. (Id. at 5).

          § 727(a)(2) provides,

          (a) the court shall grant the debtor a discharge, unless— . . .



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                 (2) the debtor, with intent to hinder, delay, or defraud a creditor or an officer
                 of the estate charged with custody of property under this title, has
                 transferred, removed, destroyed, mutilated, or concealed, or has permitted
                 to be transferred, removed, destroyed, mutilated, or concealed—
                         (A) property of the debtor, within one year before the date of the
                         filing of the petition; or
                         (B) property of the estate, after the date of the filing of the petition.


         In order to plead a valid claim for fraudulent concealment under § 727(a)(2), the Hospital

  must show: (1) within one year of the date of filing, (2) the debtor or a duly authorized agent of

  the debtor, (3) transferred, removed, destroyed, or concealed any of the debtor’s property, or

  permitted any of these acts to be done, (4) with the actual intent to hinder, delay, or defraud a

  creditor or an officer of the estate charged with custody of property under the Bankruptcy Code.

  Lowry v. Croft (In re Croft), 500 B.R. 823, 851 (Bankr. W.D. Tex. 2013) (citing Vill. of San Jose

  v. McWilliams, 284 F.3d 785, 793–94 (7th Cir. 2002)). Each of these elements will be measured

  against Rule 9’s heightened pleading standard and analyzed in turn.

         First, whether the act complained of was done within one year of the date of filing

  bankruptcy. The Complaint does not specifically allege when the consulting income was deposited

  into the Chioggia account. The Complaint states only that Sanchez “received (and presumably

  continues to receive) these fees on a monthly basis” and that this conduct occurred “during the

  twelve months preceding the Debtor’s bankruptcy filing.” (ECF No. 1 at 5). These statements are

  conclusory and do not plead facts with enough particularity to determine whether the conduct

  actually took place during the one-year look-back period. Because there is no specific factual

  allegation as to when this arrangement began or when it ended, the Complaint does not plead

  enough facts on this element to pass Rule 9.

         Second, whether the act was committed by the debtor or a duly authorized agent of the

  debtor. The Hospital contends that at Sanchez’s deposition, Sanchez himself stated that Chioggia


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  exists “so that [Sanchez] can expense things through that entity.” (ECF No. 1 at 5–6). Sanchez

  does not present any arguments asserting that it was another person or entity that committed the

  allegedly fraudulent acts. Thus, the Complaint passes muster on this element.

          Third, whether the debtor transferred, removed, destroyed, mutilated, or concealed

  property of the debtor. Here, the Hospital only asserts that Sanchez concealed property.

  Concealment under § 727(a)(2) is defined as a “transfer of title to property while retaining benefits

  of ownership.” Cullen Center Bank & Trust v. Lightfoot (In re Lightfoot), 152 B.R. 141, 146

  (Bankr. S.D. Tex. 1993) (quoting In re Sanders, 128 B.R. 963, 969 (Bankr. W.D. La 1991)).

  Furthermore, “the transfer of title with attendant circumstances indicating that the bankrupt

  continues to use the property as his own is sufficient to constitute a concealment.” Thibodeaux v.

  Olivier (In re Olivier), 819 F.2d 550, 554 (5th Cir. 1987). The concealment is not based on the

  secrecy of the transaction, but rather the retention of beneficial interest by the transferor. Lightfoot,

  152 B.R. at 147.

          On this element, the Complaint alleges that “pre-petition income (Sanchez) earned was

  deposited into the bank account of an entity named Chioggia Oil & Gas, LLC.” (ECF No. 1 at 5–

  6). The Hospital contends Sanchez deposited this personal income into the Chioggia account so

  that Chioggia could pay Sanchez’s personal expenses. These wages, according to the Hospital, are

  Sanchez’s property; therefore, depositing them into the Chioggia account constitutes concealment.

  Sanchez argues that this arrangement could not have been concealed from the Hospital because it

  knew about the arrangement once it was divulged during Sanchez’s pre-petition deposition.

          Taking all the Hospital’s allegations as true, the Complaint has pled sufficient facts on this

  element to survive Rule 9. It is plausible that Sanchez’s business arrangement with Chioggia

  constitutes concealment because the facts allege a transfer of property and a subsequent retention



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  of benefits via Chioggia’s payment of Sanchez’s personal expenses. The Court notes that whether

  the Hospital knew about the alleged concealment is irrelevant for the purpose of measuring the

  Complaint against the pleading standard. That issue will be reserved for trial.

         Finally, the Court must analyze whether the Complaint has sufficiently pled intent to

  hinder, defraud, or delay the creditors. This element requires showing actual intent, not

  constructive intent. First Tex. Sav. Ass’n, Inc. v. Reed (In re Reed), 700 F.2d 986, 991-92 (5th

  Cir. 1983). Actual intent may be based on circumstantial evidence or inferences from a course of

  conduct. Pavy v. Chastant (In re Chastant), 873 F.2d 89, 91 (5th Cir. 1989). Moreover, the Fifth

  Circuit has identified the following factors may provide evidence of actual intent to defraud:

         1) A lack or inadequacy of consideration;

         2) A familial or close relationship between the parties;

         3) Retention of possession, benefit, or use of the property in question;

         4) The financial condition of the party sought to be charged both before and after the

             transaction in question;

         5) The existence or cumulative effect of a pattern or course of conduct after the incurring

             of a debt, onset of financial difficulties or threat of suits be creditors; and

         6) The general chronology of the events and transactions at issue.

         See Id.

         On this element, the Hospital’s only allegation is that “the Debtor continuously concealed

  property with actual intent to hinder, delay or defraud Plaintiffs and other creditors.” (ECF No. 1

  at 6-7). This statement—without more—presents a textbook threadbare recital deemed insufficient

  by the Supreme Court in Twombly. Therefore, this Court finds that the Hospital’s Complaint does

  not plead sufficient facts to pass muster.



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         While the above analysis of the elements of § 727(a)(2) is based on the face of the

  Complaint, the Court notes that many of the facts recited in the Hospital’s Complaint come from

  deposition testimony. The Complaint cites to the deposition but does not attach a transcript of the

  deposition. This Court previously ruled that pleading insolvency by merely referencing documents

  from the underlying bankruptcy docket, but not attaching them to the complaint, does not satisfy

  the pleading requirements of Rule 8. Crescent Res. Litig. Tr. v. Nexen Pruet, LLC (In re Crescent

  Res.), Adv. Case No. 09-11507-CAG, 2012 WL 195528, at *14-15 (Bankr. W.D. Tex. Jan. 23,

  2012). Here, the fact that documents underpinning several elements of the cause of action were

  not attached proves fatal for two reasons: 1) Rule 9 and its heightened pleading standard is

  applicable here; and 2) the relevant documents are not from the main bankruptcy case, but from a

  wholly separate state court litigation beyond this Court’s access.



   II.   Claims under 11 U.S.C. § 727(a)(4)

         The Hospital’s second point of contention is that Sanchez provided “false oaths or

  accounts” under § 727(a)(4). § 727(a)(4) states, “(a) the court shall grant the debtor a discharge,

  unless— . . . (4) the debtor knowingly and fraudulently, in or in connection with the case— (A)

  made a false oath or account.”

         In order to plead a valid claim for relief under § 727(a)(4), a Plaintiff must affirmatively

  plead the following elements: “(1) [the debtor] made a statement under oath; (2) the statement was

  false; (3) [the debtor] knew the statement was false; (4) [the debtor] made the statement with

  fraudulent intent; and (5) the statement related materially to the bankruptcy case.” Cadle Co. v.

  Pratt (In re Pratt), 411 F.3d 561, 566 (5th Cir. 2005).




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        Notably, “Bankruptcy Courts have not construed § 727(a)(4) generally to impose strict

 liability for the schedules and false statements.” Interfirst Bank Greenville, N.A., v. Morris (In

 re Morris), 58 B.R. 422, 427 (Bankr. N.D. Tex. 1986). Innocent mistakes and inadvertence are

 generally not sufficient to result in denial of a discharge. See e.g., Mozeika v. Townsley (In re

 Townsley), 195 B.R. 54, 65 (Bankr. E.D. Tex. 1996) (“The denial of a discharge under

 § 727(a)(4)(A) cannot be imposed where the false statement was the result of a simple or honest

 mistake or inadvertence. Rather, to sustain an objection to discharge under this section, the debtor

 must have willfully made a false statement with intent to defraud his creditors.”).

        Nevertheless, a debtor need not have acted deliberately to deceive. Beaubouef v.

 Beaubouef, (In re Beaubouef), 966 F.2d 174, 178 (5th Cir. 1992). (“It makes no difference that

 [the debtor] does not intend to injure his creditors when he makes a false statement. Creditors are

 entitled to judge for themselves what will benefit, and what will prejudice, them.”) (quoting Chalik

 v. Moorefield (In re Chalik), 748 F.2d 616, 618 (11th Cir. 1984) (per curiam)). Intent can be

 shown by establishing that the debtor acted with reckless disregard for the truth, which can be

 proven by circumstantial evidence. Sholdra v. Chilmark Fin. LLP (In re Sholdra), 249 F.3d 380,

 382 (5th Cir. 2001). Reckless disregard for truth can be proven by “the existence of more than one

 falsehood, together with [the debtor’s]…failure to take advantage of the opportunity to clean up

 all the inconsistencies and omissions when he filed his [schedules].” Beaubouef, 966 F.2d at 178.

        Because the Complaint alleges four different claims under § 727(a)(4), the Court will

 analyze each claim in turn.

        a) Valuation of Paintings

        The Hospital’s first assertion under § 727(a)(4) states that Sanchez made a false oath by

 making contradictory statements concerning the value of his art collection. According to the



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 Hospital, Sanchez valued his art collection at $310,000 on an application for a Small Business

 Association Loan. (ECF No. 1 at 6). Subsequent to the loan application, the Hospital alleges that

 Sanchez, in his deposition, valued his art collection between $155,000 and $170,000. (Id.). Finally,

 the Hospital points to Sanchez’s bankruptcy schedules which state that the value of the paintings

 is $15,500, low enough for the paintings to be exempted. (Id.). The Hospital has not alleged

 whether or not Sanchez exempted the paintings. This alleged inconsistency, according to the

 Hospital, constitutes a false oath or account.

        In his Motion to Dismiss, Sanchez argues that the Hospital’s recital of his deposition

 testimony is false and conclusory. (ECF No. 3 at 4). Sanchez states that what the Hospital

 characterizes as valuations are instead Sanchez’s speculation as to the value of the artwork and a

 third party’s lay opinion of the value. (Id. at 8–9). Notably, Sanchez attaches excerpts from the

 referenced deposition testimony to refute The Hospital’s characterization. See Ex. MX-1 attached

 to the Motion to Dismiss (ECF No. 3). Finally, the Motion to Dismiss argues that the Complaint

 offers no support for either the “materially related to the bankruptcy case” element or the “knowing

 and fraudulent” element of 727(a)(4). (Id. at 13).

        In response, the Hospital argues that the Complaint sets out “(a) who made the false oaths,

 (b) what oaths were false and why they were false, and (c) when, where, and how the false oaths

 were made.” (ECF No. 4 at 6). Moreover, the Hospital’s Response contends that because some of

 the inconsistent statements were made on Sanchez’s bankruptcy Schedules and Statement of

 Financial Affairs (“SOFA”), the allegedly inconsistent statements are thus materially related to the

 bankruptcy case. (Id.). Lastly, the Response argues that Rule 9(b) allows the scienter element of

 fraud claims to be plead generally, which the Complaint does by stating that the statements on

 Sanchez’s schedules and SOFA were made knowingly and fraudulently. (Id.).



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        The Court finds that the Complaint has pled sufficient facts to prove a claim under

 § 727(a)(4). Taking the allegations in the Complaint as true and viewing all facts in the light most

 favorable to the Hospital, the Court concludes that the Complaint has shown that it is plausible

 that Sanchez made a false statement that he knew was false in order to exempt his artwork in his

 bankruptcy case. This set of facts—if true—satisfies each element of a claim under § 727(a)(4)

 and therefore also meets the standard of Rule 9’s heightened pleading standard.

        b) Allegedly misstating income

        In addition to the alleged undervaluing of the art collection, the Hospital contends that

 Sanchez reported income and wages of $1,500, while testifying during his deposition to an amount

 that was “significantly and materially higher.” (ECF No. 1 at 8). Specifically, the Hospital

 references Sanchez’s deposition testimony that his monthly consulting income was “sometimes

 two thousand, sometimes five thousand, sometimes four, sometimes nothing.” (Id. at 5).

        The Motion to Dismiss argues that the allegations in the Complaint are conclusory and do

 not plead enough facts to support a claim. (ECF No. 3 at 15). Sanchez contends that the allegedly

 inconsistent statements are compatible because Sanchez testified that there are months that his

 income is “nothing”, thus the estimate of $1,500 on his bankruptcy schedules cannot be a

 falsehood. (Id.).

        The Court concludes that the Complaint has pled insufficient facts on the intent element to

 constitute a valid claim under § 727(a)(4) on these facts. There is insufficient evidence that

 Sanchez filled out his Schedules with fraudulent intent. To prove intent, the Hospital states only

 that the “false representations are material and the Debtor made them knowingly and fraudulently”

 (ECF No. 1 at 8-9). This statement is a conclusion without supporting facts and is therefore




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 insufficient to plead a cause of action under § 727(a)(4). The Court finds that the other four

 elements necessary to the claim are plead sufficiently.

        c) Alleged misstatements on Statement of Financial Affairs

        Next, the Hospital accuses Sanchez of misrepresenting income on his SOFA for the years

 2019, 2020, and 2021. More specifically, the Hospital’s Complaint alleges that Sanchez listed

 gross income amounts for the years 2019–2021 in the amounts of $6,133, $30,000, and $4,000,

 respectively. (ECF No. 1 at 8). The Hospital claims these numbers do not comport with Sanchez’s

 testimony that his monthly income was “sometimes two thousand, sometimes five thousand,

 sometimes four, sometimes nothing.” (Id.).

        The Motion to Dismiss argues that the Complaint pled no falsehood because the testimony

 concerned monthly income whereas the SOFA inquires about the total amount of money Sanchez

 received in any given year. (ECF No. 3 at 16–17).

        Though the parties argue whether Sanchez’s statements were false, the Complaint is

 deficient because it pleads no facts alleging fraudulent intent. Simply put, there are no facts alleged

 that can lead to an inference that Sanchez lied about his income with fraudulent intent. For this

 reason, the Court finds that the allegations concerning alleged false oaths in Sanchez’s SOFA to

 be insufficient. As above, the other four elements to this claim are sufficiently pled.

        d) Alleged misstatements about expenses

        Lastly, the Hospital contends that Sanchez made a false oath by testifying that his monthly

 personal expenses were paid by Chioggia in his deposition, while also claiming his personal

 expenses on his bankruptcy schedules. (ECF No. 1 at 8). In light of this testimony, the Hospital

 argues that Sanchez’s personal expenses should be claimed by Chioggia and not by Sanchez

 personally. (Id.). Sanchez argues that he did nothing more than comply with the requirement under



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 § 521(a)(1)(B)(iii) to report his monthly expenses, regardless of how they are paid. (ECF No. 3 at

 17).

         The Hospital does not affirmatively plead any of the elements required to sustain a viable

 cause of action for false oath on these facts. There are no facts alleged concerning the falsity of

 any statement. Also absent are any facts that could lead to the conclusion that Sanchez completed

 his schedules with fraudulent intent. In summary form, the facts alleged cannot plausibly establish

 a false oath by Sanchez.

  III.   Claim for Attorney’s Fees

         Plaintiff seeks attorney’s fees and costs related to this complaint and cites §§ 105(a) and

 727(a) to substantiate its request. Although Sanchez makes no argument against this request for

 fees and costs, the Court must evaluate whether the Complaint sufficiently pleads its claim.

         No binding case law exists directly addressing whether a plaintiff who prevails on a § 727

 action is entitled to attorney’s fees and costs. Persuasive precedent, however, suggests attorney’s

 fees cannot be recovered in this context. See First United Bank & Trust Co. v. Buescher (In re

 Buescher), 491 B.R. 419, 439 (Bankr. E.D. Tex. 2013) (finding no basis for awarding attorney’s

 fees to a successful plaintiff of a § 727 action), aff’d, 738 F.3d 302 (5th Cir. 2015). “There is no

 general right to attorney’s fees under the Bankruptcy Code.” In re Valdez, 324 B.R. 296, 299

 (Bankr. S.D. Tex. 2005). Section 727, unlike other provisions of the Bankruptcy Code, does not

 explicitly provide a statutory basis to award attorney’s fees. Compare 11 U.S.C. § 523(d) with 11

 U.S.C. § 727; see also (In re Buescher), 491 B.R. at 439 (“Certainly § 727 itself does not provide

 a statutory basis for such a recovery. . .”), aff’d, 738 F.3d 302 (5th Cir. 2015). Cases addressing

 this issue find the lack of statutory authorization instructive. See Banner Bank v. Wyatt (In re

 Wyatt), 609 B.R. 530, 533–535 (Bankr. D. Idaho 2019) (rejecting argument that, because



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 attorney’s fees are awarded in a § 523 action, attorney’s fees should also be awarded in a § 727

 action); Barbknecht Firm, P.C. v. Keese (In re Keese), Adv. Case No. 18-4057, 2021 WL 811572

 (Bankr. E.D. Tex., Feb. 28, 2021) (similar) (reversed and remanded on other grounds).

         Courts have also declined to extend awarding attorney’s fees to § 727 actions because,

 unlike in a § 523 adversary where only the plaintiff-creditor benefits from its victory, relief inures

 to all creditors. In re Buescher, 491 B.R. at 439. As the Tenth Circuit Bankruptcy Appellate Panel

 reasoned,

         An action under § 727 does not liquidate the debt, nor does it give the plaintiff a
         judgment on its claim. Moreover, an action under § 727 may result in a total denial
         of discharge, placing every creditor in the position of being able to pursue collection
         of debts, both liquidated and unliquidated. The creditor that seeks such relief under
         § 727, relief that ultimately inures to all creditors, does not gain any special or
         particularized benefit . . .

 Tuloil, Inc. v. Shahid (In re Shahid), 254 B.R. 40, 44 (B.A.P. 10th Cir. 2000). The inverse of this

 corollary is persuasive as well: because the conduct underlying a § 727 action injures no party

 individually, it follows that no party individually should reap financial benefit from prosecuting

 the action. See In re Buescher, 491 B.R. at 439 (“Because the judgment being issued by this Court

 does not reach any particularized claim against Mrs. Buescher solely for the benefit of the Plaintiff,

 there is no valid basis upon which to grant the Plaintiff’s request for an award of attorney’s fees.”).

 For these reasons, the Court finds that the Plaintiff could not recover attorney’s fees and costs as

 a matter of law if it were to prevail in this suit.

  IV.    Leave to Amend

         Rule 15(a)(2) declares that the “court should freely give leave [to amend a complaint] when

 justice so requires.” In the absence of undue delay, the plaintiff’s bad faith or dilatory motives, or

 repeated failure to cure deficiencies by previously allowed amendments, or where amendment

 would be futile, the Court should grant leave freely. Foman v. Davis, 371 U.S. 178 (1962).

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        When a claim is subject to dismissal under Rule 12(b)(6) for failure to state a claim, “courts

 often afford plaintiffs at least one opportunity to cure pleading deficiencies . . . unless it is clear

 that the defects are incurable or the plaintiffs advise the court that they are unwilling or unable to

 amend in a manner that will avoid dismissal.” Great Plains Trust Co. v. Morgan Stanley Dean

 Witter & Co., 313 F.3d 305, 329 (5th Cir. 2002).

        The Court will grant leave to amend in accordance with this Order.

                                             CONCLUSION

        IT IS THEREFORE ORDERED that Defendant Victor Hugo Sanchez’s Motion to Dismiss

 (ECF No. 3) is DENIED.

        IT IS FURTHER ORDERED that Plaintiff is GRANTED leave to amend the Complaint in

 accordance with this ruling within 14 calendar days.

        IT IS FURTHER ORDERED that Defendant has 7 days from the filing of the amended

 complaint in which to file a responsive pleading under Rule 12.

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